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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA            )
                                    )
                                    )
v.                                  ) Criminal No. 24-CR-10189-AK
                                    )
HAROON MOHSINI                      )

                     MOTION FOR LEAVE TO WITHDRAW

     Undersigned counsel for defendant Haroon Mohsini

respectfully moves this Honorable Court for leave to withdraw as

appointed counsel.    As grounds therefore, Mr. Mohsini has

retained private counsel.

                                   Respectfully submitted,

                             By:
                                   /s/ Austin C. Tzeng
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                                   781-929-4882
                                   COUNSEL TO HAROON MOHSINI

                        CERTIFICATE OF SERVICE
     The government hereby certifies that the foregoing was this
day filed through the ECF system and will be sent electronically
to the registered participants as identified on the Notice of
Electronic Filing (“NEF”) and paper copies will be sent to those
indicated as non-registered participants.
                                /s/ Austin C. Tzeng, Esq.
                                Austin C. Tzeng, Esq.




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